                    Case 7:18-cr-00489 Document 1 Filed in TXSD on 03/04/18 Page 1 of 2
  AO 91 (Rev. 11/11) Criminal Complaint


                                       UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                   __________  District of
                                                                        of __________
                                                                           Texas

                    United States of America                         )
                               v.                                    )
                       Nieves Pena Perez
                                                                     )      Case No.
                           DOB: 1968                                 )                 M-18-0469-M
                   Citizenship: United States                        )
                                                                     )                                       United States Courts
                                                                     )                                     Southern District of Texas
                            Defendant(s)                                                                          &/>ED
                                                                                                                 March 04, 2018
                                                   CRIMINAL COMPLAINT
                                                                                                        David J. Bradley, Clerk of Court
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of                    March 3, 2018               in the county of               Hidalgo            in the
       Southern          District of             Texas           , the defendant(s) violated:

              Code Section                                                     Offense Description
  21 USC § 952                                    Illegal Importation of a Controlled Substance / Approximately 47.54
                                                  Kilograms of Marijuana, a Schedule I Controlled Substance.




           This criminal complaint is based on these facts:
                                                            See Attachment "A"




           ✔ Continued on the attached sheet.
           u

                                                                                                /s/ Bradley M. Gaines
4VCNJUUFECZSFMJBCMFFMFDUSPOJDNFBOTTXPSOUPBOEBUUFTUFE
                                                                                                Complainant’s signature
UPUFMFQIPOJDBMMZQFS'FE3$S1BOEQSPCBCMFDBVTF
GPVOEPO                                                                            Bradley M. Gaines, HSI Special Agent
                                                                                                 Printed name and title

  Sworn to before me and signed in my presence.


  Date:             03/04/2018
                                                                                                   Judge’s signature

  City and state:                          McAllen, Texas                            U.S. Magistrate Judge J. Scott Hacker
                                                                                                 Printed
                                                                                                       d name and
                                                                                                                d title
                                                                                                                     l
      Case 7:18-cr-00489 Document 1 Filed in TXSD on 03/04/18 Page 2 of 2



                                       Attachment “A”

I, Bradley M. Gaines II, am a Special Agent with the United States (U.S.) Department of
Homeland Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security
Investigations (HSI), and have knowledge of the following facts:

1. On March 3, 2018, HSI McAllen received a request for investigative assistance from the U.S.
   Customs and Border Protection (CBP) Office of Field Operations (OFO) at the Progreso Port
   of Entry (POE) in Progreso, Texas. CBP Officers (CBPOs) detained Nieves Pena PEREZ
   (hereafter referred to as “PEREZ”), a United States Citizen (USC), while attempting to enter
   the U.S. with approximately 47.54 kilograms (kg) of marijuana concealed within the gas tank
   and rear door panels of the Ford Explorer (hereafter referred to as “Load Vehicle”) she was
   driving. The Load Vehicle was registered to PEREZ.

2. During Primary Inspection, CBP Officers (CBPOs) obtained a negative oral declaration for
   fruits, food, alcohol, tobacco, drugs, weapons and currency over $10,000.00. CBPOs
   referred PEREZ and the Load Vehicle to secondary inspection due to signs of tampering to
   the gas tank straps and a solid sounding gas tank when tapped on.

3. During Secondary Inspection, CBPOs conducted a non-intrusive X-Ray inspection and
   discovered anomalies in the gas tank and rear doors of the Load Vehicle. A CBP K-9
   narcotics detection team conducted a free air inspection of the Load Vehicle which resulted
   in a positive alert for the order of narcotics emanating from the Load Vehicle.

4. A physical search of the vehicle resulted in CBPOs discovering six (51) vacuum sealed
   packages concealed within the gas tank and the rear doors of the Load Vehicle. CBPOs field
   tested the substance inside the packages, which was positive for the characteristics of
   marijuana.

5. HSI SAs responded to the Progreso POE to assist in the investigation. HSI SAs interviewed
   PEREZ who admitted (Post-Miranda Warning) that she was hired by an individual in Nuevo
   Progreso, Tamaulipas, Mexico to smuggle marijuana in to the U.S.

6. PEREZ will be charged with Illegal Importation of a Controlled Substance, in violation of 21
   USC § 952.
